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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CASE NO. 22-CR-087 (BAH)
               v.                            :
                                             :
CARSON S. LUCARD,                            :
                                             :
                      Defendant.             :


                                            ORDER

        Upon a representation by the United States that the defendant has never been subject of

routine processing” (booking, fingerprinting, photographing) in this case:

        It is the ____ day of March ORDERED:

        That the defendant is released on certain conditions and that he be accompanied by

Federal Bureau of Investigation Special Agent Joseph McGinn to the United States Marshal’s

Office for the Eastern District of Pennsylvania on March 25, 2022, for “routine processing.”



Date:
                                             __________________________________________
                                             THE HONORABLE BERYL A. HOWELL
                                             UNITED STATES CHIEF DISTRICT JUDGE
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                               CERTIFICATE OF SERVICE

       On this 23rd day of March 2022, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                                   /s/ Grace Albinson____
                                                   GRACE ALBINSON
                                                   Capitol Riot Detailee
